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 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     THE CVRC COMPANY LLC, a
                                                  325).
18   Delaware limited liability company;
     and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant THE CVRC COMPANY LLC, a Delaware limited liability company;
24
     and Does 1-10 (“Defendants”) and alleges as follows:
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                                            PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
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     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
                                                1
                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   THE CVRC COMPANY LLC, a Delaware limited liability company, owned the
11   property located at 8812 Baseline Rd., Rancho Cucamonga, CA 91701 (“Property”)
12   on or around June 27, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   THE CVRC COMPANY LLC, a Delaware limited liability company, owns the
15   Property currently.
16          4.     Plaintiff does not know the true name of Defendant, its business
17   capacity, its ownership connection to the Property serving Casa Rubio's Mexican
18   Grill Restaurant (“Business”), or its relative responsibilities in causing the access
19   violations herein complained of. Plaintiff is informed and believes that each of the
20   Defendants herein, including Does 1 through 10, inclusive, is responsible in some
21   capacity for the events herein alleged, or is a necessary party for obtaining
22   appropriate relief. Plaintiff will seek leave to amend when the true names,
23   capacities, connections, and responsibilities of the Defendants and Does 1 through
24   10, inclusive, are ascertained.
25                               JURISDICTION AND VENUE
26          5.     This Court has subject matter jurisdiction over this action pursuant
27   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
28          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
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                                             COMPLAINT
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 1   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 2   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 3   federal ADA claims in that they have the same nucleus of operative facts and
 4   arising out of the same transactions, they form part of the same case or controversy
 5   under Article III of the United States Constitution.
 6          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 7   real property which is the subject of this action is located in this district and because
 8   Plaintiff's causes of action arose in this district.
 9                                FACTUAL ALLEGATIONS
10          8.     Plaintiff went to the Business on or about June 27, 2020 for the dual
11   purpose of browsing the menu and to confirm that this public place of
12   accommodation is accessible to persons with disabilities within the meaning federal
13   and state law.
14          9.     The Business is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16          10.    Parking spaces are one of the facilities, privileges, and advantages
17   reserved by Defendants to persons at the Property serving the Business.
18          11.    Unfortunately, although parking spaces were one of the facilities
19   reserved for patrons, there were no designated parking spaces available for persons
20   with disabilities that complied with the 2010 Americans with Disabilities Act
21   Accessibility Guidelines (“ADAAG”) on June 27, 2020.
22          12.    At that time, instead of having architectural barrier free facilities for
23   patrons with disabilities, Defendants have: nothing to prevent parked vehicles from
24   obstructing the accessible route from the parking area to the entrance. (Parking
25   spaces and access aisles shall be designed so that cars and vans, when parked, cannot
26   obstruct the required clear width of adjacent accessible routes per Section 502.7.
27   Advisory 502.7-Relationship to Accessible Routes: Wheel stops are an effective way
28   to prevent vehicle overhangs from reducing the clear width of accessible route); an
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                                             COMPLAINT
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 1   access aisle at the accessible parking space that is ramped up to connect the walkway
 2   to the street level creating slopes and cross slopes excessive of 1:48 (Access aisles
 3   shall be at the same level as the parking spaces they serve. Changes in level are not
 4   permitted. EXCEPTION: Slopes not steeper than 1:48 shall be permitted per
 5   Section 502.4); a curb ramp that projects into the accessible parking space access
 6   aisle in violation of Section 406.5 (which requires that curb ramps and the flared
 7   sides of curb ramps shall be located so that they do not project into vehicular traffic
 8   lanes, parking spaces, or parking access aisles. Curb ramps at marked crossings shall
 9   be wholly contained within the markings, excluding any flared sides); the slope of
10   the curb ramp that flares at the curb ramp connecting the accessible parking spaces
11   to the accessible route exceeds 11% in violation of Section 406.3 (which requires
12   that the slope does not exceed 10%); a walkway leading to the entrance from the
13   accessible parking that is noncompliant (The running slope of walking surfaces shall
14   not be steeper than 1:20. The cross slope of walking surfaces shall not be steeper
15   than 1:48, per Section 403.3. Here, the cross slope exceeds 4.7%); and, no accessible
16   routes connecting the parking to the main entrance or elements within the facility as
17   required by Section 206.2.2 (which requires that at least one accessible route shall
18   connect accessible buildings, accessible facilities, accessible elements, and
19   accessible spaces that are on the same site, and 206.1 requiring access to the site
20   arrival point (main entrance) from the public street).
21         13.    Subject to the reservation of rights to assert further violations of law
22   after a site inspection found infra, Plaintiff asserts there are additional ADA
23   violations which affect him personally.
24         14.    Plaintiff is informed and believes and thereon alleges Defendants had
25   no policy or plan in place to make sure that there was compliant accessible parking
26   reserved for persons with disabilities prior to June 27, 2020.
27         15.    Plaintiff is informed and believes and thereon alleges Defendants have
28   no policy or plan in place to make sure that the designated disabled parking for
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                                           COMPLAINT
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 1   persons with disabilities comport with the ADAAG.
 2          16.   Plaintiff personally encountered these barriers. The presence of these
 3   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
 4   conditions at public place of accommodation and invades legally cognizable
 5   interests created under the ADA.
 6          17.   The conditions identified supra in paragraph 12 are necessarily related
 7   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
 8   the major life activities of walking, standing, ambulating, sitting, in addition to
 9   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
10   placard; and because the enumerated conditions relate to the use of the accessible
11   parking, relate to the slope and condition of the accessible parking and accessible
12   route to the accessible entrance, and relate to the proximity of the accessible parking
13   to the accessible entrance.
14          18.   As an individual with a mobility disability who at times relies upon a
15   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
16   accommodations have architectural barriers that impede full accessibility to those
17   accommodations by individuals with mobility impairments.
18          19.   Plaintiff is being deterred from patronizing the Business and its
19   accommodations on particular occasions, but intends to return to the Business for the
20   dual purpose of availing himself of the goods and services offered to the public and
21   to ensure that the Business ceases evading its responsibilities under federal and state
22   law.
23          20.   Upon being informed that the public place of accommodation has
24   become fully and equally accessible, he will return within 45 days as a “tester” for
25   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
26   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
27          21.   As a result of his difficulty experienced because of the inaccessible
28   condition of the facilities of the Business, Plaintiff was denied full and equal access
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                                            COMPLAINT
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 1   to the Business and Property.
 2          22.      The Defendants have failed to maintain in working and useable
 3   conditions those features required to provide ready access to persons with
 4   disabilities.
 5          23.      The U.S. Department of Justice has emphasized the importance of
 6   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 7   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 8   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 9   Coronavirus Disease 2019 (COVID-19) found at
10   https://www.ada.gov/aag_covid_statement.pdf.
11          24.      The violations identified above are easily removed without much
12   difficulty or expense. They are the types of barriers identified by the Department of
13   Justice as presumably readily achievable to remove and, in fact, these barriers are
14   readily achievable to remove. Moreover, there are numerous alternative
15   accommodations that could be made to provide a greater level of access if complete
16   removal were not achievable.
17          25.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
18   alleges, on information and belief, that there are other violations and barriers in the
19   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
20   notice regarding the scope of this lawsuit, once he conducts a site inspection.
21   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
22   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
23   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
24   have all barriers that relate to his disability removed regardless of whether he
25   personally encountered them).
26          26.      Without injunctive relief, Plaintiff will continue to be unable to fully
27   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
28   ////
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                                              COMPLAINT
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 1                               FIRST CAUSE OF ACTION
 2    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 3     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 4                                        (P.L. 110-325)
 5         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
 9   privileges, advantages, accommodations, facilities, goods, and services of any place
10   of public accommodation are offered on a full and equal basis by anyone who owns,
11   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
12   Discrimination is defined, inter alia, as follows:
13                a.     A failure to make reasonable modifications in policies, practices,
14                       or procedures, when such modifications are necessary to afford
15                       goods, services, facilities, privileges, advantages, or
16                       accommodations to individuals with disabilities, unless the
17                       accommodation would work a fundamental alteration of those
18                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
19                b.     A failure to remove architectural barriers where such removal is
20                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
21                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
22                       Appendix "D".
23                c.     A failure to make alterations in such a manner that, to the
24                       maximum extent feasible, the altered portions of the facility are
25                       readily accessible to and usable by individuals with disabilities,
26                       including individuals who use wheelchairs, or to ensure that, to
27                       the maximum extent feasible, the path of travel to the altered area
28                       and the bathrooms, telephones, and drinking fountains serving
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                                            COMPLAINT
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 1                         the area, are readily accessible to and usable by individuals with
 2                         disabilities. 42 U.S.C. § 12183(a)(2).
 3         29.       Any business that provides parking spaces must provide accessible
 4   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 5   shall be at the same level as the parking spaces they serve. Changes in level are not
 6   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 7   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 8   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 9   designated disabled parking space is a violation of the law and excess slope angle in
10   the access pathway is a violation of the law.
11         30.       A public accommodation must maintain in operable working condition
12   those features of its facilities and equipment that are required to be readily accessible
13   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14         31.       Here, the failure to ensure that accessible facilities were available and
15   ready to be used by Plaintiff is a violation of law.
16         32.       Given its location and options, Plaintiff will continue to desire to
17   patronize the Business but he has been and will continue to be discriminated against
18   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
19   the barriers.
20                                SECOND CAUSE OF ACTION
21       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
22         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23   above and each and every other paragraph in this Complaint necessary or helpful to
24   state this cause of action as though fully set forth herein.
25         34.       California Civil Code § 51 et seq. guarantees equal access for people
26   with disabilities to the accommodations, advantages, facilities, privileges, and
27   services of all business establishments of any kind whatsoever. Defendants are
28   systematically violating the UCRA, Civil Code § 51 et seq.
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                                              COMPLAINT
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 1          35.   Because Defendants violate Plaintiff’s rights under the ADA,
 2   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 3   52(a).) These violations are ongoing.
 4          36.   Plaintiff is informed and believes and thereon alleges that Defendants’
 5   actions constitute discrimination against Plaintiff on the basis of a disability, in
 6   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 7   previously put on actual or constructive notice that the Business is inaccessible to
 8   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 9   inaccessible form, and Defendants have failed to take actions to correct these
10   barriers.
11                                          PRAYER
12   WHEREFORE, Plaintiff prays that this court award damages provide relief as
13   follows:
14          1.    A preliminary and permanent injunction enjoining Defendants from
15   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
16   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
17   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
18   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
19   under the Disabled Persons Act (Cal. C.C. §54) at all.
20          2.    An award of actual damages and statutory damages of not less than
21   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
22          3.    An additional award of $4,000.00 as deterrence damages for each
23   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
24   LEXIS 150740 (USDC Cal, E.D. 2016); and,
25          4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
26   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
27   ////
28   ////
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                                            COMPLAINT
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 1                                DEMAND FOR JURY TRIAL
 2          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3    raised in this Complaint.
 4

 5    Dated: July 28, 2020             MANNING LAW, APC
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 7                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
 8                                        Attorney for Plaintiff
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